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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

 AMY TIPTON, on Behalf of Herself and             §
 on Behalf of All Others Similarly Situated,      §
                                                  §
        Plaintiff,                                §
                                                  §
 V.                                               §       CIVIL ACTION NO. : 4:20-cv-439
                                                  §         JURY TRIAL DEMANDED
 ANADARKO PETROLEUM                               §
 CORPORATION,                                     §
                                                  §
        Defendant.                                §

                         PLAINTIFF’S ORIGINAL COMPLAINT
                        COLLECTIVE ACTION & JURY DEMAND

       1.      Defendant Anadarko Petroleum Corporation (“Defendant”) required Amy Tipton

(“Plaintiff”) to work more than forty hours in a workweek without overtime compensation.

Defendant misclassified Plaintiff and other similarly situated workers throughout the United States

as exempt from overtime under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq.

       2.      Defendant’s conduct violates the FLSA, which requires non-exempt employees to

be compensated for all hours in excess of forty in a workweek at one and one-half times their

regular rates of pay. See 29 U.S.C. § 207(a). On behalf of herself and all other similarly situated

employees, Plaintiff brings this action as a collective action under the FLSA, 29 U.S.C. § 216(b).

Members of the FLSA collective action are referred to as the “FLSA Class Members.”

                     SUBJECT MATTER JURISDICTION AND VENUE

       3.      This Court has jurisdiction over the subject matter of this action under 29 U.S.C.

§ 216(b) and 28 U.S.C. § 1331.




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       4.      Venue is proper in this District because a Defendant’s United States headquarters

is in this District, because Defendant does a sizeable portion of its business in this District, and

many of the wrongs herein alleged occurred in this District.

                        PARTIES AND PERSONAL JURISDICTION

       5.      Plaintiff Amy Tipton is an individual residing in Stone County, Montana.

Plaintiff’s written consent to this action is attached hereto as Exhibit “A.” Plaintiff performed

work for Defendant within the last three years for which she did not receive the FLSA’s required

overtime.

       6.      The FLSA Class Members are all current and former inspectors, and all employees

in substantially similar positions, that worked at any time during the three-year period before the

filing of this Complaint nationwide that were paid on a day rate.

       7.      Defendant Anadarko Petroleum Corporation is a corporation organized under the

laws of Delaware. Defendant may be served process through its registered agent CT Corporation

System, 1999 Bryan Street, Suite 900, Dallas, Texas 75201.

                                          COVERAGE

       8.      At all material times, Defendant has been an employer within the meaning of 3(d)

of the FLSA. 29 U.S.C. § 203(d).

       9.      Plaintiff and the FLSA Class Members are all employees of Defendant.

       10.     At all material times, Defendant has been an enterprise within the meaning of 3(r)

of the FLSA. 29 U.S.C. § 203(r).

       11.     At all material times, Defendant has been an enterprise or enterprise in commerce

or in the production of goods for commerce within the meaning of 3(s)(1) of the FLSA because

Defendant has had and continues to have employees engaged in commerce. 29 U.S.C. § 203(s)(1).



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       12.     Furthermore, Defendant has an annual gross business volume of not less than

$500,000.

       13.     At all material times, Plaintiff and Class Members were employees who engaged

in commerce or in the production of goods for commerce as required by 29 USC § 207.

                                             FACTS

       14.     Defendant Anadarko was one of the largest independent oil and gas exploration and

production companies in the world.

       15.     Defendant operates throughout the United States, including Texas.

       16.     Defendant contracts with various companies to staff its inspection needs.

       17.     Many individuals work for Anadarko as inspectors but Defendant classifies these

workers as independent contractors and pays them a flat day rate for each day they worked.

       18.     Plaintiff worked for Defendant as an inspector from approximately October of 2017

through March of 2018.

       19.     Plaintiff’s job title while employed by Defendant was welding inspector.

       20.     As an inspector, Plaintiff was responsible for performing visual and non-destructive

testing on pipelines and gas plants owned or operated by Defendant.

       21.     For her labor, Defendant paid Plaintiff a day rate but did not pay her overtime for

his hours in excess of forty per week. In other words, Defendant misclassified Plaintiff as exempt.

       22.     Defendant never calculated nor paid Plaintiff any overtime.

       23.     Plaintiff is a non-exempt employee.

       24.     Defendant paid dozens of other inspectors classified as employees throughout the

United States on the same day rate compensation system as Plaintiff.

       25.     Plaintiff and other inspectors commonly work in excess of 12 hours each day.



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       26.    Inspectors usually work five to six days each week, for a schedule that equates into

workweeks well exceeding 40 hours.

       27.    However, despite working overtime hours, Defendant does not pay its inspectors

overtime because it pays the same flat day rate regardless on the number of hours worked.

       28.    No exemption in the FLSA shelters Defendant from paying overtime to its

inspectors.

       29.    Inspectors like Plaintiff are not guaranteed a set number of days to work per week.

       30.    Inspectors like Plaintiff are not guaranteed a set weekly payment.

       31.    Inspectors are paid on a day rate basis, not on a salary basis.

       32.    Plaintiff was paid on a day rate basis, not on a salary basis.

       33.    Plaintiff was not paid time-and-a-half for all hours worked over forty in a given

workweek.

       34.    Plaintiff worked overtime as defined in the FLSA.

       35.    Other inspectors employed by Defendant worked overtime as defined in the FLSA.

       36.    Because Inspectors are on a day rate, the executive, administrative, or professional

exemptions cannot apply. See 29 C.F.R. §§ 541.100, 541.200, 541.300.

       37.    Inspectors do not supervise other employees or manage a customarily recognized

department of Defendant’s company.

       38.    Inspectors have no authority to hire or fire other employees.

       39.    Inspectors are field employees, not office employees. They perform work related

to Defendant’s core business, not the management of the company’s operations.

       40.    Inspectors also perform extensive physical labor to perform their inspection work.




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       41.     The primary duty of an inspector does not require independent judgment or

discretion. Instead, inspectors are required to carry out their inspections according to detailed step-

by-step procedures promulgated by Defendant or Defendant’s customers.

       42.     The FLSA’s regulations even provide that inspection work is non-exempt work:

               Ordinary inspection work generally does not meet the duties
               requirements for the administrative exemption. Inspectors normally
               perform specialized work along standardized lines involving well-
               established techniques and procedures which may have been
               catalogued and described in manuals and other sources. Such
               inspectors rely on techniques and skills acquired by special training
               or experience. They have some leeway in the performance of their
               work but only within closely prescribed limits.

29 C.F.R. 541.203(g).

       43.     Inspectors are not computer-systems analysts, computer programmers, software

engineers, or other similar employees.

       44.     Despite classifying her as an independent contractor, Defendant exercised control

over all aspects of Plaintiff’s work.

       45.     Defendant directed when and where Plaintiff would work.

       46.     Defendant dictated how Plaintiff would perform her work and required exacting

conformance with Defendant’s inspection protocols.

       47.     No real investment was required of Plaintiff in order to perform her work for

Defendant. She was required to own fire resistant clothing and steel toed boots. Defendant, on

the other hand, made large the large capital investments in buildings, machines, tools, and

equipment as well as assumed the overhead expenses typical of actually running a business.

       48.     Plaintiff and other inspectors do not possess any unique or specialized business

related skill sets, other than inspection skills maintained by any inspector.




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       49.      Plaintiff and other inspectors are economically dependent on Defendant during

their work for Defendant.

       50.      Plaintiff was not employed by Defendant on a project by project basis.

       51.      As a result of Defendant’s pay policies, Plaintiff and other inspectors were denied

overtime pay.

       52.      Defendant knew or showed reckless disregard for whether Plaintiff and the other

inspectors were entitled to overtime pay under the law.

                        COUNT ONE: VIOLATION OF 29 U.S.C. § 207

       53.      Plaintiff incorporates all allegations contained in the foregoing paragraphs.

       54.      Defendant’s practice of failing to pay Plaintiff time-and-a-half for all hours worked

in excess of forty (40) per workweek violates the FLSA. 29 U.S.C. § 207.

       55.      None of the exemptions provided by the FLSA regulating the duty of employers

to pay overtime at a rate not less than one and one-half times the regular rate at which its employees

are paid are applicable to Defendant, Plaintiff, or the FLSA Class Members.

                            COLLECTIVE ACTION ALLEGATIONS

       56.      Plaintiff incorporates by reference the allegations in the preceding paragraphs.

       57.      Plaintiff has actual knowledge that FLSA Class Members have also been denied

overtime pay for hours worked over forty (40) hours in a workweek as a result of Defendant’s

misclassification of its employees.

       58.   Plaintiff’s knowledge is based on her personal work experience and through

communications with other workers of Defendant.            Plaintiff personally worked with other

inspectors under the same compensation structure at multiple job sites for Defendant.




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        59.        Other workers similarly situated to the Plaintiff worked for Defendant throughout

the United States, but were not paid overtime at the rate of one and one-half their regular rates of

pay when those hours exceeded forty (40) hours in a workweek.

        60.        Although Defendant permitted and/or required FLSA Class Members to work in

excess of forty (40) hours in a workweek, Defendant denied them full compensation for their hours

worked over forty (40).

        61.        Defendant misclassified and continues to misclassify FLSA Class Members as

exempt employees.

        62.        FLSA Class Members perform or have performed the same or similar work as

Plaintiff and were misclassified as exempt by Defendant.

        63.        Plaintiff had the same job duties as other employees of Defendant who had the same

job title as Plaintiff and worked for Defendant at any time during the three years prior to the filing

of this lawsuit.

        64.        FLSA Class Members are not exempt from receiving overtime pay under the FLSA.

        65.        As such, FLSA Class Members are similar to Plaintiff in terms of relevant job

duties, pay structure, misclassification as exempt employees and/or the denial of overtime pay.

        66.        Defendant’s failure to pay overtime compensation at the rate required by the FLSA

results from generally applicable policies or practices, and does not depend on the personal

circumstances of any FLSA Class Member.

        67.        Defendant employed at least 20 other inspectors within the last 3 years who were

paid on a day rate.

        68.        Defendant employed at least 100 other inspectors within the last 3 years who were

paid on a day rate.



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       69.     Defendant employed at least 40 other employees with the same job title as Plaintiff

who were not paid overtime.

       70.     Defendant employed at least 50 other employees with the same job title as Plaintiff

who worked overtime for at least one week during their employment with Defendant and were not

paid one and one-half times their regular rate of pay for all overtime hours worked.

       71.     The experiences of Plaintiff, with respect to her pay, hours, and duties are typical

of the experiences of the FLSA Class Members.

       72.     The specific job titles or precise job responsibilities of each FLSA Class Member

does not prevent collective treatment.

       73.     All FLSA Class Members, irrespective of their particular job requirements, are

entitled to overtime compensation for hours worked in excess of forty (40) in a workweek.

       74.     Although the exact amount of damages may vary among the FLSA Class Members,

the damages for the FLSA Class Members can be easily calculated by a simple formula. The claims

of all FLSA Class Members arise from a common nucleus of facts. Liability is based on a

systematic course of wrongful conduct by Defendant that caused harm to all FLSA Class Members.

       75.     As such, the class of similarly situated Plaintiffs for the FLSA Class is properly

defined as follows:

               All current and former inspectors, and all workers with substantially
               similar duties, who worked for Defendant at any time during the
               three-year period before the filing of this Complaint to present that
               were paid a day rate.


                                           JURY DEMAND

       76.     Plaintiff and Class Members hereby demand trial by jury on all issues.

                                               PRAYER



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      77.      For these reasons, Plaintiff prays for:

            a. An order designating the FLSA Class as a collective action and authorizing notice
               pursuant to 29 U.S.C. § 216(b) to all inspectors and all similarly situated employees
               to permit them to join this action by filing a written notice of consent;


            b. A judgment against Defendant awarding Plaintiff and the FLSA Class Members all
               their unpaid overtime compensation and liquidated damages;

            c. An order awarding attorneys’ fees and costs;

            d. Such other and further relief as may be necessary and appropriate.


                                                Respectfully submitted,

                                                By: /s/ Beatriz Sosa-Morris
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                                               LEAD ATTORNEY IN CHARGE FOR PLAINTIFF AND
                                               CLASS MEMBERS




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